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                 UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF GEORGIA
                       SAVANNAH DIVISION


SECURITIES AND EXCHANGE
COMMISSION,

                            Plaintiff,

                     v.                        Case No. 4:16-cv- 00253
                                               WTM-GRS

MEDIENT STUDIOS, INC., FONU2,
INC., MANU KUMARAN, JOEL A.
“JAKE” SHAPIRO, and ROGER
MIGUEL,

                            Defendants.



                    MOTION SEEKING APPROVAL OF
                    PROPOSED CONSENT JUDGMENTS

      Plaintiff Securities and Exchange Commission respectfully moves this Court

to approve and enter the proposed consent Orders agreed to by Defendants Roger

Miguel (“Miguel”) and Fonu2, Inc. (“Fonu2, Inc.”) that appear in the record at

Dkt. Nos. 12-1 and 13-1.

      The consent Orders are the result of settlements Plaintiff previously reached

with Miguel and Fonu2. As reflected in the Consent of Defendant Roger Miguel to

Order of Permanent Injunction, Officer and Director Bar, and Penny Stock Bar

[Dkt. No. 13], and the Consent of Defendant Fonu2, Inc. to Order of Permanent
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Injunction [Dkt No. 12], Defendants agreed to the entry of the consent Orders as

part of those settlements. 1 (In addition, both Miguel and Fonu2 waived service of

the Complaint, entered a general appearance, and admitted the Court’s jurisdiction

over them and over the subject matter of this action.) The settlements agreed to by

Miguel and Fonu2, as evidenced by the Consents and Orders, also provide that

some amount of disgorgement, prejudgment interest and civil penalty would be

ordered against them upon motion by Plaintiff.

      At this time, Plaintiff respectfully moves the Court to approve and enter the

proposed consent Orders. Such action will allow Plaintiff to move the Court for

determination of disgorgement, prejudgment interest, and civil money penalties as

agreed to in the Consents. See Dkt. Nos. 12, ¶3 and 13, ¶3. Once the amounts of

disgorgement, prejudgment interest and civil penalties are determined by the Court

and reduced to judgment, Plaintiff’s claims against Miguel and Fonu2 will be

resolved.

      For the foregoing reasons, Plaintiff respectfully requests that the Court

approve and enter the Orders to which Miguel and Fonu2 previously consented,

which appear in the record as Dkt. Nos. 12-1 and 13-1.



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      The proposed Orders were previously filed with the Court in support of the
Consent documents. See Dkt. Nos. 12-1 (“Order of Permanent Injunction as to
Defendant Fonu2, Inc.”) and 13-1 (“Order of Permanent Injunction, Officer and
Director Bar, and Penny Stock Bar as to Defendant Roger Miguel”).
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Dated: November 7, 2017

                           /s/W. Shawn Murnahan
                           W. Shawn Murnahan
                           Senior Trial Counsel
                           Georgia Bar No. 529940
                           Tel: (404) 842-7669
                           Email: murnahanw@sec.gov

                           M. Graham Loomis
                           Regional Trial Counsel
                           Georgia Bar No. 457868
                           Tel: (404) 842-7622

                           Joshua M. Dickman
                           Senior Counsel
                           Georgia Bar No. 210855
                           Tel: (404) 842-7630
                           Email: dickmanj@sec.gov

                           COUNSEL FOR PLAINTIFF
                           Securities and Exchange Commission
                           Atlanta Regional Office
                           950 East Paces Ferry Road, N.E., Suite 900
                           Atlanta, GA 30326-1382
                           Fax: (703) 813-9364




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                       OF COUNSEL

                       R. Brian Tanner
                       United States Attorney (Interim)
                       /s/ Shannon Heath Statkus
                       Shannon Heath Statkus
                       Assistant United States Attorney
                       Civil Division Chief
                       SC Bar No. 70410
                       United States Attorney's Office
                       Southern District of Georgia
                       600 James Brown Boulevard
                       Augusta, Georgia 30901
                       (706) 826-4526 (telephone)
                       (912) 652-4991 (facsimile)




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                  UNITED STATES DISTRICT COURT
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SECURITIES AND EXCHANGE
COMMISSION,

                              Plaintiff,

                      v.                         Case No. 4:16-cv- 00253
                                                 WTM-GRS

MEDIENT STUDIOS, INC., FONU2,
INC., MANU KUMARAN, JOEL A.
“JAKE” SHAPIRO, and ROGER
MIGUEL,

                              Defendants.



                           CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of this
Court using the CM/ECF system which will send notice of such filing to counsel of
record.



                                                     /s/W. Shawn Murnahan
                                                     W. Shawn Murnahan
                                                     Senior Trial Counsel
